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 5   Attorneys for Plaintiff

 6

 7                        UNITED STATES DISTRICT COURT
 8
                         EASTERN DISTRICT OF WASHINGTON

 9   LINLEY HANEYNIXON,                        )
10
                                               ) NO.
                                  Plaintiff,   )
11                                             ) COMPLAINT
12
          v.                                   )
                                               ) JURY DEMAND
13   BOARD OF TRUSTEES OF                      )
14
     WHITMAN COLLEGE,                          )
                                               )
15                              Defendant.     )
16                                             )

17         Plaintiff Linley HaneyNixon (“Plaintiff” or “HaneyNixon”) alleges as
18   follows:
19                             NATURE OF THE ACTION
20         This is an action under RCW 49.60.210, Title IX of the Education
21   Amendments of 1972, 20 U.S.C. §1681, and Wrongful Discharge in Violation of
22   Public Policy.   Plaintiff seeks economic and equitable relief to redress being
23   terminated in retaliation for filing, as a mandatory reporter, a complaint against her
24   male supervisor Marvin Viney, the Director of Security, for sexual misconduct
25   and/or harassment with a student at Whitman College.
26

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 1                            I.     JURISDICTION AND VENUE
 2         1.1       Pursuant to 28 U.S.C. §§1331, 1343(a)(3) and (a)(4), and 28 U.S.C.
 3   §1367 this Court has jurisdiction over Plaintiff’s claims.
 4         1.2       Pursuant to 28 U.S.C. §1391(b) jurisdiction is proper in the United
 5   States District Court for the Eastern District of Washington.
 6                                        II.     PARTIES
 7         2.1       Plaintiff is and has been at all times material to this lawsuit a resident
 8   of Walla Walla, Washington.
 9         2.2       Defendant Board of Trustees of Whitman College (“Whitman”) is a
10   liberal arts college incorporated as a non-profit corporation that has its principal
11   place of business at 345 Boyer Avenue, Walla Walla, WA 99362.
12         2.3       Upon information and belief Whitman College receives federal funding
13   through various channels and sources.
14                                         III.   FACTS
15         3.1       Plaintiff has more than 25 years of experience working as a corrections
16   and security officer. On November 8, 2013, Plaintiff began working for Whitman
17   as a Temporary Security Officer.
18         3.2       As a Security Officer, Plaintiff received consistently stellar
19   performance evaluations, each demonstrating her professionalism, integrity,
20   commitment to student safety, and dedication to Whitman. Plaintiff’s performance
21   evaluations tout Plaintiff’s “passion for Whitman College and those on [its] campus”
22   and acknowledge Plaintiff’s “great understanding of Whitman policies in regards to
23   safety and security” and Plaintiff’s “great judgment.”
24         3.3       After years of receiving numerous raises and promotions, Plaintiff was
25   promoted to Lead Security Officer on September 1, 2018. In this role, Plaintiff
26

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 1   would be responsible for maintaining and enforcing campus policies and procedures
 2   and for providing a safe student environment.
 3         3.4       As a Lead Security Officer, Plaintiff was responsible for maintaining
 4   and enforcing campus policies and procedures and for providing a safe student
 5   environment.
 6         3.5       In March of 2020, Plaintiff witnessed a Whitman Student Security
 7   Officer, herein referred to as M.B.N., crying and distraught for days on end. Plaintiff
 8   approached M.B.N. and asked what was wrong. M.B.N. said that she could not tell
 9   Plaintiff because she was scared. Eventually, however, after Plaintiff pressed,
10   M.B.N. confided in Plaintiff that she had been involved in an inappropriate sexual
11   relationship with Whitman’s Director of Security Marvin Viney (“Director Viney”),
12   Plaintiff’s direct supervisor.
13         3.6       As a Whitman employee and Lead Security Officer, Plaintiff was
14   required to follow all Whitman Policies and Procedures as well as Title IX
15   (collectively, “Policies”).
16         3.7       Pursuant to these Policies, (1) sexual misconduct or harassment of a
17   student by a teacher or other school employee can be discrimination in violation of
18   Title IX; (2) Sexual harassment is a broad term encompassing unwelcome behavior
19   of a sexual nature that can be committed by manipulation and may be based on power
20   differentials; (3) Whitman employees are required to report actual or suspected
21   instances of sexual harassment or misconduct; and (4) Title IX requires that
22   Whitman take prompt and effective action to investigate and stop sexual misconduct
23   and prevent its recurrence.
24         3.8       Whitman’s Annual Security Report & Annual Fire Safety Report
25   specifically states: “Sexual harassment is particularly damaging when it exploits the
26   educational dependence and trust between students and faculty/staff. When the
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 1   authority and power inherent in faculty/staff relationships with students is abused in
 2   any way, there is potentially great damage to the individual student, to the accused
 3   individual, and to the climate of the institution.”
 4         3.9       Whitman’s Grievance Policy handbook specifically states that
 5   Whitman: “prohibits retaliation against anyone who reports in good faith or is
 6   believed to have reported harassment, discrimination or other prohibited behavior,
 7   or who is a witness or otherwise involved in a related investigatory proceeding. Such
 8   retaliation will be considered a serious violation of this policy, regardless of whether
 9   an informal or formal allegation is upheld. Encouraging others to retaliate is also
10   prohibited and will be subject to disciplinary action.”
11         3.10 Consistent with these Policies and her role as a mandatory reporter, on
12   or about March 23, 2020, Plaintiff reported Director Viney’s sexual misconduct
13   and/or harassment to Whitman Human Resources Assistant Jacqueline Mings and
14   Senior Associate Dean of Students and Title IX Administrator Juli Dunn. Plaintiff
15   took this necessary action despite M.B.N.’s request that Plaintiff not tell anyone
16   about what had happened between her and Director Viney. In response to Plaintiff’s
17   complaint, Whitman took no action to appropriately investigate Director Viney’s
18   sexual misconduct. In fact, Whitman’s “investigation” barely lasted a week. After
19   only interviewing M.B.N. and Director Viney—both of whom denied the
20   allegations—and failing to interview any other Security Office employees or
21   students who could have provided information regarding the allegations, Whitman
22   found the claims of sexual misconduct to be unsubstantiated and let Director Viney
23   remain in his role as Director of Security without reprimand. This put a target
24   directly on Plaintiff’s back.
25         3.11 Immediately after Whitman closed its “investigation,” Director Viney,
26   acting at all times in his capacity as a Whitman manager and as Plaintiff’s direct
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 1   supervisor, launched a campaign of retaliation against Plaintiff. Director Viney
 2   made obvious his anger towards Plaintiff. He intentionally mispronounced her
 3   name, ignored and ostracized her, and told her angrily “you could have warned me.”
 4         3.12 Just two weeks after Plaintiff complained of Director Viney’s sexual
 5   misconduct, Director Viney manufactured allegations of hostile work environment
 6   against Plaintiff. In doing so, he facilitated, recruited, and/or gave permission for
 7   subordinates—Plaintiff’s co-workers—to write emails and letters voicing every
 8   negative thing they had to say about her. Whether they knew it or not, he had
 9   essentially used them as proxies in his campaign of retaliation against Plaintiff.
10         3.13 As a result of these manufactured allegations, Whitman continued the
11   pattern of retaliation launched by Director Viney by conducting an investigation into
12   Plaintiff in April 2020. While the investigation report makes clear that the purpose
13   of the investigation was to investigate alleged complaints against Plaintiff, Whitman
14   disguised it as the Spring 2020 Department Climate Feedback and Suggested
15   Improvement Strategies, never notifying Plaintiff that there were complaints or
16   allegations against her, never providing Plaintiff an opportunity to respond to the
17   allegations, never providing Plaintiff with notice of the outcome of the investigation,
18   and never providing Plaintiff with support which would enable her to respond. All
19   of those actions and inactions violated Whitman’s Policies regarding investigations.
20         3.14 After weeks of retaliation at the hands of Director Viney, on April 29,
21   2020, Plaintiff reported to Whitman that she was being ostracized and retaliated
22   against by Director Viney for her complaints of sexual misconduct.
23         3.15 On April 30, 2020, in response to Plaintiff’s complaint, Director Viney
24   again retaliated against Plaintiff by manufacturing an additional complaint against
25   her. It was evident from the substance of Director Viney’s groundless and retaliatory
26

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 1   complaint that he had notice of Plaintiff’s recent complaint of ostracization and
 2   retaliation.
 3          3.16 Rather than acknowledge that Director Viney’s complaint against
 4   Plaintiff was a direct result of the sexual misconduct complaint she made against
 5   him just weeks beforehand, Whitman entirely ignored this dynamic and sounded the
 6   death knell for Plaintiff by informing her in early May that it was placing her on a
 7   Performance Improvement Plan (“PIP”). Director Viney, however, remained
 8   unreprimanded.
 9          3.17 On May 18, 2020, Whitman issued Plaintiff the formal 60-day PIP,
10   which reprimanded her for not properly communicating with her supervisor,
11   Director Viney. Specifically, she was accused of using “unprofessional language”
12   for expressing that she was being “ostracized and ignored by my supervisor.” This
13   PIP was purely retaliatory and a result of Plaintiff’s recent report of Director Viney’s
14   sexual misconduct.
15          3.18 On June 5, 2020, following graduation, M.B.N. confessed to Dean of
16   Students and Vice President of Student Affairs Kazi Joshua that Plaintiff’s report of
17   Director Viney’s sexual misconduct was, in fact, true and that both she and Director
18   Viney had lied. M.B.N. then requested a no contact order against Director Viney
19   and reported that Director Viney influenced her March 24, 2020 statement wherein
20   she denied the sexual misconduct.        M.B.N. corroborated her confession with
21   Snapchat messages between her and Director Viney.
22          3.19 On June 9, 2020, as a result of M.B.N.’s confession, Director Viney
23   resigned from Whitman.
24          3.20 Rather than acknowledge the accuracy and appropriateness of
25   Plaintiff’s March 2020 complaint against Director Viney—and apologize for the
26   harassment and retaliation she had experienced from Director Viney and Whitman’s
     COMPLAINT - 6                                                     CORR|DOWNS PLLC
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 1   failure to protect her—Whitman terminated Plaintiff on June 19, 2020, one month
 2   short of the expiration of her PIP. Whitman obviously wanted to sweep this
 3   unfortunate instance of sexual misconduct under the rug and, along with it, all the
 4   witnesses who could speak to Whitman’s failures.
 5         3.21 At the time of the termination, Whitman had the audacity to ask
 6   Plaintiff to keep quiet about the sexual misconduct between Director Viney and
 7   M.B.N.    In other words, with Director Viney and Plaintiff gone and M.B.N.
 8   graduating, Whitman had effectively rid itself of anyone with knowledge of the
 9   sexual misconduct and its failures to conduct a competent investigation.
10         3.22 During her employment with Whitman, Plaintiff had stellar
11   performance reviews up until she accurately and appropriately reported the sexual
12   misconduct of her supervisor. Once it became clear to Whitman that it had once
13   again botched a sexual misconduct investigation and failed to discover the truth
14   about Director Viney and his trumped-up allegations against Plaintiff, Whitman
15   chose the easy wrong over the hard right. Rather than acknowledge responsibility
16   for its failure and place Plaintiff back in the position she was before making the
17   complaint against Director Viney, Whitman sought to avoid embarrassment by
18   clearing the slate and ridding itself of the one person who remained that could tell
19   the truth of what occurred—Plaintiff Linley HaneyNixon.
20         3.23 As a direct and foreseeable result of Whitman’s unlawful and
21   retaliatory conduct and wrongful discharge of Plaintiff, Plaintiff has suffered both
22   economic and noneconomic damages related to lost wages, significant emotional
23   distress, damage to her reputation, deprivation of Whitman’s tuition waiver and
24   other benefits, and other harms, losses, and damages to be proven at trial.
25         3.24 Plaintiff’s harms, losses, and damages are continuing.
26

     COMPLAINT - 7                                                    CORR|DOWNS PLLC
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 1                      IV. FIRST CAUSE OF ACTION:
 2
                 RETALIATION IN VIOLATION OF RCW 49.60 et seq.

 3         4.1       Plaintiff re-alleges and incorporates herein all preceding paragraphs in
 4   this Complaint as though set forth in full herein.
 5         4.2       While in Whitman’s employ, Plaintiff participated in protected and
 6   opposition activity by complaining about Director Viney’s sexual misconduct with
 7   and/or sexual harassment of a student and his retaliation against Plaintiff.
 8         4.3       Whitman, by and through Director Viney and other managers, took
 9   adverse action against Plaintiff including, but not limited to, false accusations,
10   ostracization, conducting a sham investigation, conducting a secret investigation in
11   violation of Whitman’s policies, due process violations under Whitman’s policies,
12   unjustified reprimands, imposing an unjustified Performance Improvement Plan
13   based on false and retaliatory allegations, and wrongful termination.
14         4.4       Plaintiff’s protected and opposition activities were a substantial factor
15   in Whitman’s adverse employment decisions against Plaintiff.
16         4.5       As a direct and foreseeable result of Whitman’s unlawful and
17   retaliatory conduct and wrongful discharge of Plaintiff, Plaintiff has suffered both
18   economic and noneconomic damages related to lost wages, significant emotional
19   distress, damage to her reputation, deprivation of Whitman’s tuition waiver and
20   other benefits, and other harms, losses, and damages to be proven at trial.
21         4.6       Plaintiff’s harms, losses, and damages are continuing.
22                        V.  SECOND CAUSE OF ACTION:
                     VIOLATION OF TITLE IX OF THE EDUCATION
23
                        AMENDMENTS OF 1972, 20 U.S.C. § 1681
24
           5.1       Plaintiff re-alleges and incorporates herein all preceding paragraphs in
25
     this Complaint as though set forth in full herein.
26

     COMPLAINT - 8                                                       CORR|DOWNS PLLC
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 1         5.2       Title IX, 20 U.S.C. §1681 makes it unlawful for an education institution
 2   to intimidate, punish, discriminate or retaliate against an individual because they file
 3   a Title IX complaint or assist with a Title IX action.
 4         5.3       While in Whitman’s employ, Plaintiff participated in protected and
 5   opposition activities by complaining about Director Viney’s sexual misconduct with
 6   and/or sexual harassment of a student and his retaliation against Plaintiff.
 7         5.4       Whitman, by and through Director Viney and other managers, took
 8   adverse action against Plaintiff including, but not limited to, false accusations,
 9   ostracization, conducting a sham investigation, conducting a secret investigation in
10   violation of Whitman’s policies, due process violations under Whitman’s policies,
11   unjustified reprimands, imposing an unjustified Performance Improvement Plan
12   based on false and retaliatory allegations, and wrongful termination.
13         5.5       Plaintiff’s protected and opposition activities were a substantial factor
14   in Whitman’s adverse employment decisions against Plaintiff.
15         5.6       As a direct and foreseeable result of Whitman’s unlawful and
16   retaliatory conduct and wrongful discharge of Plaintiff, Plaintiff has suffered both
17   economic and noneconomic damages related to lost wages, significant emotional
18   distress, damage to her reputation, deprivation of Whitman’s tuition waiver and
19   other benefits, and other harms, losses, and damages to be proven at trial.
20         5.7       Plaintiff’s harms, losses, and damages are continuing.
21                  VI. THIRD CAUSE OF ACTION:
22
             WRONGFUL TERMINATION AGAINST PUBLIC POLICY

23         6.1       Plaintiff re-alleges and incorporates herein all preceding paragraphs in
24   this Complaint as though set forth in full herein.
25         6.2       Plaintiff was fired in retaliation for reporting Director Viney and
26   Whitman’s misconduct, i.e., whistleblowing.

     COMPLAINT - 9                                                       CORR|DOWNS PLLC
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 1         6.3    In the alternative, Plaintiff pleads the claim under the Perritt factors.
 2         6.4    Washington has a clear public policy prohibiting retaliation against
 3   employees, including Plaintiff, who report suspected sexual misconduct with and/or
 4   sexual harassment of a college employee of a student.
 5         6.5    Washington has a clear public policy prohibiting relation against
 6   employees, including Plaintiff, who report insufficient investigations of sexual
 7   misconduct with and/or sexual harassment of a college employee of a student in
 8   violation of Title IX.
 9         6.6    Whitman’s Grievance Policy handbook specifically states that
10   Whitman: “prohibits retaliation against anyone who reports in good faith or is
11   believed to have reported harassment, discrimination or other prohibited behavior,
12   or who is a witness or otherwise involved in a related investigatory proceeding. Such
13   retaliation will be considered a serious violation of this policy, regardless of whether
14   an informal or formal allegation is upheld. Encouraging others to retaliate is also
15   prohibited and will be subject to disciplinary action.”
16         6.7    Whitman terminated Plaintiff’s employment because Plaintiff in good
17   faith reported sexual misconduct with and/or sexual misconduct of a Whitman
18   employee of a student which is protected by public policy. There is no overriding
19   justification for Whitman’s misconduct.
20         6.8    Moreover, Plaintiff is not prohibited from asserting a claim for
21   wrongful termination in violation of public policy by the existence of any exclusive,
22   alternative statutory remedies, regardless of whether or not such statutory remedies
23   are adequate.
24         6.9    As a direct and foreseeable result of Whitman’s unlawful and
25   retaliatory conduct and wrongful discharge of Plaintiff, Plaintiff has suffered both
26   economic and noneconomic damages related to lost wages, significant emotional
     COMPLAINT - 10                                                    CORR|DOWNS PLLC
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 1   distress, damage to her reputation, deprivation of Whitman’s tuition waiver and
 2   other benefits, and other harms, losses, and damages to be proven at trial.
 3          6.10 Plaintiff’s harms, losses, and damages are continuing.
 4                              VII. REQUEST FOR RELIEF
 5          7.1     All general and special damages sustained by Plaintiff including, but
 6   not limited to, backpay, front pay, benefits, a gross-up for negative tax
 7   consequences, and emotional distress damages;
 8          7.2     Punitive damages pursuant to statute;
 9          7.3     Reinstatement;
10          7.4     Interest calculated at the maximum amount allowable by law, including
11   pre- and post-judgment interest;
12          7.5     Costs and disbursements pursuant to statute;
13          7.6     Reasonable attorneys’ fees as allowed by law; and
14          7.7     Any and all additional economic or equitable relief allowed by law or
15   equity as the Court deems appropriate.
16                                   VIII. JURY DEMAND
17          8.1     Plaintiff demands a trial by jury of all issues properly triable by jury in
18   this action.
19   ///
20   ///
21   ///
22   ///
23   ///
24   ///
25   ///
26   ///
     COMPLAINT - 11                                                      CORR|DOWNS PLLC
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 1         DATED this 25th day of January, 2021.
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     COMPLAINT - 12                                                CORR|DOWNS PLLC
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